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                                UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW MEXICO
                        BEFORE THE HONORABLE BARBARA S. EVANS

                             CRIMINAL CLERK’S MINUTES at Roswell

CASE NUMBER:        22-MJ-1392          DATE: 8/31/2022            TAPE NUMBER: LCR-ROSWELL

CLERK: KENDRA MATHISON

TYPE OF HEARING: INITIAL PRESENTMENT

DEFENDANT(S):                           ATTORNEY(S):                                Appt’d. Ret’d.
 Monica Escobar                                                                            ☐     ☐

Interpreter: - N/A
Pretrial Officer present: None
Court in Session:     3:00 P.M. to 3:15 P.M. (15 MINS)

☒     Defendant was given/read a copy of charging document

☐     Agent sworn in OPEN COURT

☒     Court questions Defendant regarding his/her physical and mental conditions, address, DOB,
      education

☒     Court advises defendant(s) of possible penalties

☒     Court advises defendant(s) of all constitutional rights

☐     ORAL Motion for detention Hearing by Government

☐     Court grants Government’s ☐ Defense ☐              oral motion to continue detention hearing

☐     Waiver of preliminary hearing & right to grand jury presentment filed in open court

☒     Defendant(s) in custody

☐     Defendant(s) detained without bond as: Risk of Flight ☐         Danger to Community ☐

☐     Conditions of Release set at:

☒    Other: PRELIMINARY/DETENTION HEARING IN LAS CRUCES ON TUESDAY,
SEPTEMBER 6th, AT 9:00 A.M. BEFORE JUDGE SWEAZEA.
